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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

 XIAFEN CHEN,                              Case No. 1:19-cv-00045

              Plaintiff,                   District Judge Timothy S. Black

       v.

 UNITED STATES OF AMERICA,

              Defendant.

  UNITED STATES OF AMERICA’S REPLY IN SUPPORT OF MOTION TO
                 STRIKE AMENDED COMPLAINT

      In her Opposition to the United States’ Motion to Strike, Plaintiff asserts she

is entitled to amend her Complaint as a matter of course based on her previous

motion to extend her time to file a response to the United States’ Motion to

Dismiss—which she filed only after the United States alerted her that she had

missed her original response deadline. Plaintiff did not provide a copy of its motion

for an extension of time to the United States before filing, and the United States

reasonably understood from its correspondence with Plaintiff’s counsel that the

motion was seeking only an extension of time in which to file an opposition to the

Motion to Dismiss. The United Stated did not consent, and would not have

consented, to resurrecting Plaintiff’s ability to amend the Complaint as a matter of

course to add futile amendments. The United States respectfully submits that the

Court’s understanding of its notation order granting the motion for an extension of

time controls. If the Court intended to retroactively extend Plaintiff’s deadline to

amend as a matter of course, the United States agrees that Plaintiff need not seek
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leave of the Court to amend her Complaint. If that was not the Court’s

understanding, the United States agrees that the proper course would be a motion

for leave to amend under Federal Rule of Civil Procedure 15(a)(2), which would

permit the United States an opportunity to set forth its arguments about the futility

of the new claims.

I.      United States Did Not Consent to an Extension of Plaintiff’s Rule
        15(a)(1) Deadline.

        Contrary to Plaintiff’s assertions, the United States acted at all times with

professional courtesy and a desire to see Plaintiff’s claims decided on the merits. It

is for these reasons that the United States first alerted Plaintiff’s counsel that the

deadline to respond to its Motion to Dismiss had passed. The United States

likewise did not oppose Plaintiff’s proposed extension of time to file a response to

the Motion to Dismiss because it preferred those arguments be resolved on the

merits. At no point, however, did the United States understand that it was

consenting to a motion that would revive Plaintiff’s ability to amend its Complaint

as a matter of course after the 21-day window provided by Rule15(a)(1) had passed.

The United States did not, and would not have, consented to a motion that

permitted Plaintiff to add futile amendments because Rule 15(a)(2) expressly

contemplates how amendments should be made after the deadlines in Rule15(a)(1)

have passed.

        The United States’ understanding, i.e., that the motion was limited to

extending the deadline to respond to the Motion to Dismiss, was based on

communications with Plaintiff’s counsel and the course of conduct of both parties.


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On May 20, 2019, counsel for the United States reached out to Plaintiff’s counsel by

email to inform them that the deadline to respond to the Motion to Dismiss had

passed the prior Friday. (Ex. A.) A follow-up phone conversation focused solely on

Plaintiff’s desire to respond to the Motion to Dismiss, with no discussion of whether

Plaintiff was also seeking an extension of time to amend her Complaint as a matter

of course.

          While Plaintiff now focuses on the language of its motion for an extension of

time and proposed order, Plaintiff never provided a copy of the motion or the

proposed order to the United States prior to its filing. Rather, Plaintiff’s counsel

sent an email noting the parties had agreed to “a three-week extension of time to

file in response to [the] Motion to Dismiss.” (Ex. B.) The email attached a word

document titled “Chen Plaintiff Notice of extension.docx.” The attachment, however,

was blank other than the case caption and a header that read “Notice of Stipulation

for Extension of Time to Answer, Move, or Otherwise Plead.” (Ex. B.) While the

header referenced pleading, the United States assumed that the header, like the

rest of the document, was composed in error because it also purported to extend

Plaintiff’s time to “Answer”—a procedural option not available to Plaintiff in this

case. 1




1The email also indicated that Plaintiff’s motion would mirror the language
contained in a prior stipulation extending the United States’ time to respond to
Plaintiff’s Complaint. (Ex. B.) The United States did not construe this as a request
to extend the time to amend under Rule 15(a)(1) because the prior stipulation did
not implicate the Rule 15 deadlines.


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      Counsel for the United States replied to Plaintiff’s counsel noting various

errors in Plaintiff’s proposed motion including that it was blank. The email

indicated “[y]ou are welcome to note that we do not oppose, or that we concur with

your requested extension.” (Ex. C.) Plaintiff’s counsel did not circulate a revised

draft, and the United States was not able not view the text of the motion or

proposed order until they were filed later that day. At that point, the United States

recognized the motion’s text to be confusing because some of the requested relief

was clearly not available to Plaintiff and some went beyond what the United States

believed the parties had agreed to. Had Plaintiff actually circulated its language

prior to filing, the United States would have requested clarification and the limiting

language that Plaintiff now proposes. The United States did not raise an objection

after the filing because it interpreted the Court’s notation order, issued one day

later, to be limiting relief to extending the time to file a response to the Motion to

Dismiss—which was all that the United States understood Plaintiff to be

requesting. And as numerous courts have held, extending the time to respond to a

motion to dismiss does not extend the time to amend a complaint as a matter of

course. See, e.g., Webb v. Republic Bank & Trust Co., No. 3:11-cv-423, 2012 WL

2254205, at *2 (W.D. Ky. June 15, 2012) (collecting cases).

      Finally, the United States’ understanding that the Court’s notation order did

not revive Plaintiff’s ability to file an Amended Complaint as a matter of course was

consistent with the parties’ subsequent conduct. Specifically, on June 5, 2019,

Plaintiff’s counsel emailed counsel for the United States that Plaintiff intended to



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file an Amended Complaint and requested that the United States not oppose the

filing. (Ex. D.) Had the prior motion actually extended Plaintiff’s right to file an

Amended Complaint as a matter of course under Rule 15(a)(1), no such request

would have been necessary. Accordingly, the United States interpreted this email

to be consistent with its understanding that the prior motion did not extend the

Rule 15(a)(1) deadline and that Plaintiff was appropriately seeking consent to file

an Amended Complaint under Rule 15(a)(2). Counsel for the United States

indicated that it could not consent to the filing of an Amended Complaint until it

first reviewed the substance of the Amended Complaint to determine whether any

of the proposed amendments would be futile. Counsel had no further

communication before Plaintiff filed the Amended Complaint on June 7, 2019.

II.      The Court’s Understanding of Its Notation Order Should Control.

         The United States agrees that the Court’s interpretation of its notation order

is controlling. If the Court intended to retroactively extend the Rule 15(a)(1)

deadline to amend as a matter of course from May 17 to June 7, 2019, then Plaintiff

is entitled to amend as a matter of course, but may be required to seek leave to add

new parties pursuant to Rule 21. Compare Nuovo v. Ohio State Univ., No. 2:09-cv-

312, 2009 WL 2591687, at *2 (S.D. Ohio Aug. 20, 2009) (holding that plaintiff could

not amend complaint as a matter of course under rule 15(a) if the amendment

would join new parties) with Perguese v. PNC Bank, N.A., 306 F.R.D. 540, 546 (E.D.

Mich. 2015) (holding that new parties can be added without court’s leave when a

party amends pleading as a matter of course). The United States also agrees with



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Plaintiff that she is entitled to seek leave to amend under Rule 15(a)(2) if the Court

determines that the Rule15(a)(1) deadline was not extended. The United States

seeks only an opportunity to address why many of the proposed amendments,

including the time-barred Bivens claims, are futile.

                                               Respectfully submitted,


                                               BENJAMIN C. GLASSMAN
                                               United States Attorney


                                                s/ Matthew J. Horwitz
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                           CERTIFICATE OF SERVICE
       I hereby certify that on this 28th day of June, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which serves copies to

all parties of record.

                                               s/Matthew J. Horwitz
                                               MATTHEW J. HORWITZ (0082381)
                                               Assistant United States Attorney



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